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8
9    Attorneys for Plaintiff
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11
                                UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
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                                   SAN FRANCISCO DIVISION
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15
     UNITED STATES OF AMERICA,                 )   No. CR-05-00465-JSW
16                                             )
             Plaintiff,                        )
17                                             )   STIPULATION AND [PROPOSED]
        v.                                     )   PROTECTIVE ORDER REGARDING
18                                             )   COMPUTER DISCOVERY
     ZIBU “BOB” GAO,                           )
19   ZHICHENG ZENG,                            )
     LI HUA MA,                                )
20      aka Lin,                               )
        aka Lene Lam,                          )
21   XIANG ZHUGE,                              )
     RALPH FRANK PETERS,                       )
22      aka Peter,                             )
        aka Patrick, and                       )
23   LIWEI TAN KUO,                            )
        aka Grace Tan,                         )
24      aka Li Wei Tan,                        )
        aka Tan Kuo Liwei,                     )
25      aka Grace Kuo,                         )
        aka Li Wei Kuo,                        )
26                                             )
             Defendants.                       )
27                                             )
28

     No. CR-05-00465-JSW
     STIP. & [PROPOSED] PROT. ORD. RE COM PUTER DISCOVERY
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1           The United States, through its counsel of record, and the defendants, through their
2    counsel of record, hereby agree and stipulate that the government will provide computer
3    discovery (consisting of seized computer evidence) on the following conditions:
4           The computer discovery produced in this matter is deemed Protected Material.
5    Possession of copies of the Protected Material is limited to the defendants, their attorneys of
6    record, and investigators, paralegals, law clerks, translators, interpreters, experts and assistants
7    for the attorneys of record (hereinafter collectively referred to as "members of the defense team").
8           The defendants, their attorneys of record, and members of the defense team acknowledge
9    that providing copies of the Protected Material to other persons is prohibited, and agree not to
10   duplicate or provide copies of the Protected Material to other persons. The defendants, their
11   attorneys of record, and members of the defense team may show Protected Material to witnesses
12   or prospective witnesses in conjunction with their defense of the defendants in this case. The
13   defendants, their attorneys of record, and members of the defense team further acknowledge that
14   they are prohibited from using the Protected Material for any purpose other than defending the
15   defendant in the above-captioned matter. Any violation of these prohibitions constitutes a
16   violation of the Protective Order. Further, the attorneys of record agree that prior to
17   disseminating any copies of the Protected Material to members of the defense team, they will
18   provide a copy of this Protective Order to members of the defense team.
19          Notwithstanding efforts taken by the government to redact personal information of
20   witnesses from the discovery provided to the defense (such as date of birth, social security
21   numbers, addresses, phone numbers, etc.), defense counsel, the defendants and members of the
22   defense team agree that, should any such information be found during their review of this
23   material, they will not provide that personal information in any form – whether in verbal, written
24   or electronic format – to any third party, for any reason whatsoever.
25                  2       Nontermination
26          The provisions of this Order shall not terminate at the conclusion of this prosecution but
27   only upon further order of this Court. Within 30 days of a verdict or guilty plea, the defendants’
28   attorneys of record shall return all copies of any Protected Material (including all copies provided

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1    to the defendants, their attorneys of record, and members of the defense team) to the United
2    States Attorney’s Office for the Northern District of California.
3           IT IS SO STIPULATED.
4
5    DATED: November 14, 2005                      /s/ Monica Fernandez
                                                   MONICA FERNANDEZ
6                                                  Assistant United States Attorney
                                                   Counsel for the United States
7
8    DATED: November 14, 2005                      /s/ Alan Dressler
                                                   ALAN DRESSLER
9                                                  Counsel for Defendant GAO
10
     DATED: October 2, 2005                        /s/ Tony Tamburello
11                                                 TONY TAMBURELLO
                                                   Counsel for Defendant ZENG
12
13   DATED: October 14, 2005                       /s/ Frank Bell
                                                   FRANK BELL
14                                                 Counsel for Defendant MA
15
     DATED: October 3, 2005                        /s/ Harris Taback
16                                                 HARRIS TABACK
                                                   Counsel for Defendant ZHUGE
17
18   DATED: October 21, 2005                       /s/ Richard Bitters
                                                   RICHARD BITTERS
19                                                 Counsel for Defendant KUO
20
     DATED: October 14, 2005                        /s/ Juliana Drous
21                                                 JULIANA DROUS
                                                   Counsel for Defendant PETERS
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1                                           ORDER
2          PURSUANT TO STIPULATION, IT IS SO ORDERED.
3
4                    14 2005
     DATED: November ___,                   _______________________________
                                            HON. JEFFREY S. WHITE
5                                           United States District Judge
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